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 1   JOHN BALAZS, Bar No. 157287
     Attorney At Law
 2   916 Second Street, Suite F
     Sacramento, California 95814
 3   Telephone: (916) 447-9299
     John@Balazslaw.com
 4
     Attorney for Defendant
 5   JOSHUA COFFMAN
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )             No. 08-cr-093-KJM
11                                   )
                    Plaintiff,       )             STIPULATION AND ORDER TO
12                                   )             AMEND CONDITIONS OF RELEASE
          v.                         )             FOR DEFENDANT JOSHUA COFFMAN
13                                   )
     JOSHUA COFFMAN,                 )
14                                   )
                    Defendant.       )
15   _______________________________ )
16
17         Defendant Joshua Coffman, through his attorney John Balazs, and the United States,
18   through its attorney, Assistant U.S. Attorney Michael D. Anderson, hereby stipulate and
19   request that the Court modify the conditions of release by amending the travel restriction to
20   permit Mr. Coffman to reside and travel within the Eastern District of Pennsylvania as well
21   as the Eastern District of California. All other conditions shall remain in effect. U.S.
22   Pretrial Services Officer Gina Faubion approved of Mr. Coffman’s change of residence to
23   live with his mother in Pennsylvania and concurs with this request.
24         Thus, the parties stipulate that the Court amend special condition number 4 to permit
25   travel within the Eastern District of Pennsylvania such that Mr. Coffman’s current
26   conditions or release would be set forth in the “Amended Conditions of Release,” which
27   are attached to this stipulation and order.
28   ///
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 1        The parties so stipulate.
 2
 3   DATE: April 12, 2013
                                            /s/ John Balazs
 4                                          JOHN BALAZS
                                            Attorney for Defendant
 5                                          JOSHUA COFFMAN
 6
 7   DATE: April 12, 2013                   BENJAMIN B. WAGNER
                                            United States Attorney
 8
 9
                                      By:   /s/ Michael D. Anderson
10                                          MICHAEL D. ANDERSON
                                            Assistant U.S. Attorney
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14        IT IS SO ORDERED.
15
16   DATE: April 12, 2013.G:
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 1                         AMENDED SPECIAL CONDITIONS OF RELEASE
 2                                                            RE:    Joshua Coffman
                                                                     Doc. No. 2:08-CR-00093 KJM
 3
     1.      You shall report to and comply with the rules and regulations of the Pretrial Services
 4           Agency;
 5   2.      You shall report in person to the Pretrial Services Agency on the first working day
             following your release from custody;
 6
     3.      You are to reside at a location approved by the pretrial services officer and not move or
 7           absent yourself from this residence without the prior approval of the pretrial services
             officer;
 8
     4.      Your travel is restricted to the Eastern District of California and Eastern District of
 9           Pennsylvania without the prior consent of the pretrial services officer;
10   5.      You shall not possess a firearm, destructive device, or other dangerous weapon;
             additionally, you shall provide written proof of divestment of all firearms currently under
11           your control;
12   6.      You shall seek and/or maintain employment as approved by Pretrial Services and provide
             proof of the same as requested by your pretrial services officer;
13
     7.      You shall report any contact with law enforcement to your pretrial services officer within
14           24 hours;
15   8.      You shall surrender your passport to the Clerk of the U.S. District Court and you shall not
             apply for any travel documents during the pendency of this case;
16
     9.      You shall not have contact with the co-defendants in this case with the exception of Justin
17           Wiley unless in the presence of defense counsel;
18   10.     You shall refrain from excessive use of alcohol or any use of a narcotic drug or other
             controlled substance without a prescription by a licensed medical practitioner; and you
19           shall notify Pretrial Services immediately of any prescribed medications. However, medical
             marijuana, prescribed or not, may not be used.
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     Date:    4/12/13
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